Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 1 of 36 PageID# 18427




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION


    UNITED STATES, et al.,

                     Plaintiffs,

         vs.                                    No. 1:23-cv-00108-LMB-JFA

    GOOGLE LLC,

                     Defendant.


           MEMORANDUM OF LAW IN SUPPORT OF GOOGLE LLC’s
         MOTION TO EXCLUDE THE TESTIMONY OF PROF. ROBIN S. LEE




                               REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 2 of 36 PageID# 18428




                                                       TABLE OF CONTENTS


  INTRODUCTION .......................................................................................................................... 1
  BACKGROUND ............................................................................................................................ 3
  ARGUMENT ................................................................................................................................ 12
  I.        LEE’S METHODOLOGY FOR DEFINING THE RELEVANT MARKETS IS
            UNRELIABLE AND CONTRARY TO LAW. ............................................................... 13
            A.         There Is No Such Thing as a Market for Ad Tech Tools for “Open-Web
                       Display Advertising.” ........................................................................................... 14
            B.         Lee’s Hypothetical Monopolist Test Is Unsupported by the Record. ................... 16
                       1.          Lee’s Failure to Conduct a Quantitative Analysis Requires
                                   Exclusion of His Market Definition. ......................................................... 17
                       2.          Lee Fails to Perform Any Quantitative Analysis Constituting an
                                   HMT .......................................................................................................... 19
            C.         Lee’s Worldwide Market Is Irrelevant and Unreliable. ........................................ 21
                       1.          Lee’s Worldwide Market is Not Relevant to Plaintiffs’ Case. ................. 22
                       2.          Lee’s Worldwide Geographic Market Definition Is Unreliable
                                   Because He Misapplies His Own Methodology. ...................................... 23
  II.       LEE’S MARKET SHARE CALCULATIONS MUST BE EXCLUDED AS
            INCONSISTENT WITH HIS PROPOSED MARKET DEFINITIONS AND THE LAW.
            ........................................................................................................................................... 24
            A.         Lee’s Market Share Calculations Must Consider All Ad Impressions
                       Transacted by Each Tool That Can “Readily Shift” from Transacting Non-
                       Open-Web Display Ad Impressions to Transacting More Open-Web
                       Display Ad Impressions. ....................................................................................... 25
            B.         Lee’s Market Share Calculations Are Unreliable Because They Fail to
                       Account for All Ad Impressions That Must Be Considered in Evaluating
                       Google’s Share of the Relevant Markets. ............................................................. 28
  CONCLUSION ............................................................................................................................. 30




                                                                            i


                                                  REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 3 of 36 PageID# 18429




                                                 TABLE OF AUTHORITIES

                                                                                                                                Page(s)

  Cases

  Am. Bearing Co. v. Litton Indus., Inc.,
     729 F.2d 943 (3d Cir. 1984).....................................................................................................30

  Apple v. Epic,
     67 F.4th 946 (9th Cir. 2023) ..............................................................................................17, 29

  Bepco, Inc. v. Allied-Signal, Inc.,
     106 F. Supp. 2d 814 (M.D.N.C. 2000) ........................................................................25, 26, 27

  Berlyn, Inc. v. Gazette Newspapers, Inc.,
     223 F. Supp. 2d 718 (D. Md. 2002), aff’d 73 F. App’x 576 (4th Cir. 2003) .............................1

  Blue Cross & Blue Shield United of Wisc. v. Marshfield Clinic,
     65 F.3d 1406 (7th Cir. 1995), as amended on denial of reh’g (Oct. 13, 1995) .................25, 28

  Brown Shoe Co. v. United States,
     370 U.S. 294 (1962) .................................................................................................................18

  Cogan v. Harford Memorial Hosp.,
     843 F. Supp. 1013 (D. Md. 1994) ..............................................................................................1

  Concord Boat Corp. v. Brunswick Corp.,
     207 F.3d 1039 (8th Cir. 2000) .................................................................................................15

  Consul, Ltd. v. Transco Energy Co.,
     805 F.2d 490 (4th Cir. 1986) ...................................................................................................21

  Daubert v. Merrell Dow Pharms., Inc.,
     509 U.S. 579 (1993) ...........................................................................................................12, 13

  E.I. Du Pont De Nemours & Co. v. Kolon Indus.,
      683 F. Supp. 2d 401 (E.D. Va. 2009) ......................................................................................23

  Fed. Hous. Fin. Agency v. Nomura Holding Am., Inc.,
     2015 WL 640875 (S.D.N.Y. Feb. 16, 2015) ............................................................................13

  FTC v. Microsoft Corp.,
     681 F. Supp. 3d 1069 (N.D. Cal. 2023) ...................................................................................14

  Gen. Elec. Co. v. Joiner,
     522 U.S. 136 (1997) .................................................................................................................30



                                                                      ii


                                              REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 4 of 36 PageID# 18430




  Gulf States Reorganization Grp., Inc. v. Nucor Corp.,
     822 F. Supp. 2d 1201 (N.D. Ala. 2011), aff’d, 721 F.3d 1281 (11th Cir. 2013) .....................28

  Hicks v. PGA Tour, Inc.,
     897 F.3d 1109 (9th Cir. 2018) .................................................................................................15

  In re Am. Express Anti-Steering Rules Antitrust Litig.,
      361 F. Supp. 3d 324 (E.D.N.Y. 2019) .....................................................................................19

  In re Payment Card Interchange Fee & Merchant Discount Antitrust Litig.,
      2022 WL 15053250 (E.D.N.Y. Oct. 26, 2022) ........................................................................13

  In re Zetia (Ezetimibe) Antitrust Litig.,
      587 F. Supp. 3d 356 (E.D. Va. 2022) ................................................................................17, 18

  It’s My Party, Inc. v. Live Nation, Inc. (It’s My Party I),
       88 F. Supp. 3d 475 (D. Md. 2015), aff’d, 811 F.3d 676 (4th Cir. 2016) .................................13

  It’s My Party, Inc. v. Live Nation, Inc. (It’s My Party II),
       811 F.3d 676 (4th Cir. 2016) ........................................................................................... passim

  J.H. Westerbeke Corp. v. Onan Corp.,
     580 F. Supp. 1173 (D. Mass. 1984) ...................................................................................25, 28

  Ky. Speedway, LLC v. Nat’l Ass’n of Stock Car Auto Racing, Inc.,
      588 F.3d 908 (6th Cir. 2009) .............................................................................................18, 20

  Loeffel Steel Prods., Inc. v. Delta Brands, Inc.,
     387 F. Supp. 2d 794 (N.D. Ill. 2005) .......................................................................................13

  Menasha Corp. v. News Am. Marketing In-Store, Inc.,
    354 F.3d 661 (7th Cir. 2004) ...................................................................................................21

  Ohio v. Am. Express Co.,
     585 U.S. 529 (2018) .................................................................................................................14

  Oksanen v. Page Memorial Hosp.,
     945 F.2d 696 (4th Cir. 1991) (en banc) ...................................................................................14

  Rebel Oil Co. v. Atl. Richfield Co.,
     51 F.3d 1421 (9th Cir. 1995) .................................................................................26, 27, 28, 29

  Reifert v. S. Cent. Wisconsin MLS Corp.,
      450 F.3d 312 (7th Cir. 2006) ...................................................................................................18

  Satellite Television v. Continental Cablevision,
     714 F.2d 351 (4th Cir. 1983) ...................................................................................................21



                                                                     iii


                                              REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 5 of 36 PageID# 18431




  Stiles v. Walmart, Inc.,
      639 F. Supp. 3d 1029 (E.D. Cal. 2022)....................................................................................25

  Teradata Corp. v. SAP SE,
     570 F. Supp. 3d 810 (N.D. Cal. 2021) ...................................................................17, 18, 19, 20

  Twin City Sportservice, Inc. v. Charles O. Finley & Co.,
     512 F.2d 1264 (9th Cir. 1975) ...........................................................................................26, 30

  TYR Sport, Inc. v. Warnaco Swimwear, Inc.,
     709 F. Supp. 2d 821 (C.D. Cal. 2010) .....................................................................................30

  U.S. Horticultural Supply v. Scotts Co.,
     367 F. App’x 305 (3d Cir. 2010) .............................................................................................18

  United States v. E.I. du Pont de Nemours & Co.,
     351 U.S. 377 (1956) .................................................................................................................13

  United Food & Com. Workers Loc. 1776 & Participating Emps. Health &
     Welfare Fund v. Teikoku Pharma USA,
     296 F. Supp. 3d 1142 (N.D. Cal. 2017) ...................................................................................13

  Vasquez v. Indiana Univ. Health, Inc.,
     40 F.4th 582 (7th Cir. 2022) ....................................................................................................24

  Virginia Vermiculite, Ltd. v. W.R. Grace & Co. Conn.,
     108 F. Supp. 2d 549 (W.D. Va. 2000) .....................................................................................15

  Virtual Maintenance, Inc. v. Prime Computer, Inc.,
      11 F.3d 660 (6th Cir.1993), cert. dismissed, 512 U.S. 1216 (1994) ........................................28

  Water Craft Mgmt., L.L.C. v. Mercury Marine,
     361 F. Supp. 2d 518 (M.D. La. 2004) ......................................................................................30

  Statutes and Rules

  Federal Rule of Evidence 403 ........................................................................................................12

  Federal Rule of Evidence 702 ..............................................................................................3, 12, 13

  Other Authorities

  2010 Merger Guidelines ..............................................................................................17, 21, 22, 23

  Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust
      Principles and Their Application (5th ed. 2023) .....................................................................25




                                                                     iv


                                              REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 6 of 36 PageID# 18432




                                          INTRODUCTION

         Professor Robin S. Lee is Plaintiffs’ only expert who offers opinions that seek to define

  relevant markets—an essential element that Plaintiffs must prove for each of their antitrust claims.

  In his summary of opinions, Lee attempts to define product markets for publisher ad servers, ad

  exchanges, and advertiser ad networks that serve and transact “open-web display advertising.”

  Ex. 1, ¶ 12(1).1 But when asked at deposition, Lee did not recall having heard the term “open-web

  display advertising” before this case, Ex. 8 at 34:6-10, and Plaintiffs’ other principal expert

  economist, Rosa Abrantes-Metz, testified that the term (and the market) was created for this

  lawsuit. Ex. 6 at 26:22-28:5 (the “term is simply a name – a name that was given to the relevant

  antitrust market delineated for this case”).

         “Defining markets for antitrust analysis is an extremely complex task.” Berlyn, Inc. v.

  Gazette Newspapers, Inc., 223 F. Supp. 2d 718, 727 (D. Md. 2002), aff’d 73 F. App’x 576 (4th

  Cir. 2003). To allow a jury to make a finding as to the relevant market, a plaintiff “must provide

  the Court with expert testimony on this highly technical economic question.” Cogan v. Harford

  Memorial Hosp., 843 F. Supp. 1013, 1020 (D. Md. 1994). Lee’s wholly qualitative opinions about

  the delineated-for-litigation product markets should be excluded because they are rife with

  methodological error, make no sense, yield absurd results, and therefore will not assist the jury.

         To begin with, there is no such thing as an ad tech tool that exclusively transacts “open-

  web display ads.” Ad tech tools—including Google’s ad tech tools—transact all sorts of ads, to

  be placed in all sorts of places. And so, Lee’s markets include ad tech tools with the ability to



  1
    All references to “Ex.” refer to the Declaration of Bryon Becker in Support of Google’s Motion
  for Summary Judgment and Motions to Exclude. With respect to quoted material, unless otherwise
  indicated, all brackets, ellipses, footnote call numbers, internal quotations, and citations have been
  omitted for readability. All emphasis is added unless otherwise indicated.




                                   REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 7 of 36 PageID# 18433




  transact many types of advertising, in addition to “open-web display ads.” Other ad tech tools

  exist that do not transact “open-web display ads,” but transact ads appearing on what Lee refers to

  as the “closed web,” and transact native ads, in-app ads, and instream video ads. Lee claims these

  ad formats are distinct from “open-web display ads” and excludes these other ad tech tools from

  his proposed markets. Doing so makes no sense. First, Lee’s exclusion of ads on the “closed web”

  leads to the exclusion of competitors in the ad tech space, like Meta and Amazon, which offer the

  same types of ad tech tools as Google and are some of the world’s largest display advertising

  sellers. Next, his exclusion of ads that do not appear on the “web” leads to the exclusion of ads

  appearing in mobile apps and on smart TVs, even though the technology for buying and selling

  ads on the web, in apps, and on smart TVs is the same. Lee’s market definitions lead to absurd

  results—he would include in his market an ad placed on an article on washingtonpost.com, but

  would exclude the very same ad from the very same advertiser placed on the very same article by

  the very same tool when viewed by the very same user in The Washington Post mobile app.

         Lee defines markets for ad tech tools that are capable of facilitating “open-web display

  ads” yet ignores the many other functions of which those tools are capable. This is like defining a

  market for Swiss Army knives, selectively ignoring all Swiss Army knife functionality other than

  the ability to remove a cork, and then excluding from the market any Swiss Army knives that do

  not include a corkscrew—even though they share other functionality. This is the kind of fictional

  line-drawing that antitrust law prohibits. It’s My Party, Inc. v. Live Nation, Inc. (It’s My Party II),

  811 F.3d 676, 683 (4th Cir. 2016) (“No party can expect to gerrymander its way to an antitrust

  victory without due regard for market realities”).

         Lee then makes additional errors that infect his market share calculations. His calculations

  focus only on “open-web display ad” impressions transacted, and therefore do not accurately



                                                    2


                                   REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 8 of 36 PageID# 18434




  reflect each tool’s share of the market based on all tool functionality. This is like measuring a

  manufacturer’s share of the Swiss Army knife market by first excluding all Swiss Army knives

  from the market that do not include corkscrews, and then—for the Swiss Army knives remaining

  in the market—looking only to how many times each Swiss Army knife is used to remove a cork.

         Deepening the gerrymandered nature of Lee’s market definition opinions, he opines that a

  worldwide market is the most appropriate geographic market. But none of his reasons for

  expanding the market beyond the United States—in this case brought by the U.S. Government on

  behalf of eight Federal Agency Advertisers (“FAAs”), and by 17 U.S. states—are based on

  relevant considerations or even a reliable application of his own methodology.

         At every level, Lee contorted his market definition and market share opinions to avoid

  analyzing demand for ad tech tools as a whole. By resting upon serious foundational and

  methodological errors, his opinions fail to satisfy Federal Rule of Evidence 702, and must be

  excluded.

                                         BACKGROUND

         Plaintiffs retained Lee as an expert economist to opine as to whether Plaintiffs’ alleged

  markets—publisher ad servers, ad exchanges, and advertiser ad networks for “open-web display

  advertising,” both worldwide and in the United States—are relevant antitrust markets, and whether

  Google has possessed market power in those markets. Ex. 1, ¶ 7.

  1.     Open-Web Display Ads.

         Plaintiffs have alleged markets for “Publisher ad servers for open web display advertising,”

  First Am. Compl., ECF No. 120 (“FAC”) ¶ 282, “ad exchanges for indirect open web display

  advertising,” id. ¶ 290, and “Advertiser ad networks for open web display advertising,” id. ¶ 297.




                                                  3


                                 REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 9 of 36 PageID# 18435




  According to Lee, “open-web display ads” are “display ads” (using his narrow definition, detailed

  below) appearing on websites operated by what he calls “open-web publishers.” Ex. 1, ¶ 56.

         First, Lee opines that ad types can be distinguished based on where they are shown. Ex. 1,

  ¶ 50. He says: “

                      ,” id., and then carves out certain types of websites by distinguishing “open-

  web” publishers from “closed-web” publishers.         Id. ¶ 55. Lee’s categorization of website

  publishers as “open” or “closed” does not depend on whether they erect a paywall or require a

  password to enter their websites; it is based on the type of ad tech tools publishers use: “



                                                                                                   .” Id.

  (Inventory refers to space where ads can be placed.) Under Lee’s definition, a website publisher

                                                                                                   , was

  converted from an “open-web” publisher to a “closed-web” publisher when it started using its own

  ad tech tools. Ex. 1, ¶ 55 (describing Amazon as a closed-web publisher because it sells its “



                         ”). And a website publisher like The New York Times, which historically

  used an in-house ad server, was converted from a “closed-web” publisher to an “open-web”

  publisher when it started using Google’s ad server. Ex. 51 at 141:8-22; see Ex. 1, ¶ 55. Based on

  Plaintiffs’ market definitions, the same websites at different times would be treated differently.

         Google business documents identify Meta as number one in display ads and Amazon as

  having growing shares and being an “existential threat.”2 Ad tech industry participants—including


  2
   Ex. 84 at -947 (2018: “Facebook has become the dominant player . . . . Google has been in second
  place since 2014, and the gap is expected to continue to widen”); Ex. 85 at 160 (describing Amazon
  as an “existential threat”).

                                                    4


                                  REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 10 of 36 PageID# 18436
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 11 of 36 PageID# 18437




                                                                                                  like

   amazon.com; and (C) social media ads, which

                        websites like facebook.com, instagram.com, and twitter.com. Id. ¶ 49(4) &

   Figs. 9-12. Although he includes outstream video ads—which he describes as a

                                         —in his definition of display ads, he excludes instream video

   ads, which are ads                                               Id. ¶¶ 49(1) & n.10, 49(3). Based

   on Lee’s definitions, display ads, native ads, and instream video ads can all appear on websites—

   but only display ads fall within his claimed markets. Id. ¶¶ 49(1), 49(3), 49(4).

          In sum, Lee excludes from his definition of “open-web display ads,” and his claimed

   markets for tools with the ability to transact those ads: (1) ads that do not appear on the “open”

   web, i.e., ads that appear on the website of any publisher who uses its own ad tech tools; (2) ads

   that do not appear on a website, for example, ads that appear in an app or on a smart TV streaming

   service, like Disney+ or Apple TV (referred to as “connected TV” or “CTV”), even if the app or

   smart TV streaming service is owned and operated by a content publisher that also has a website

   (e.g., an ad shown on disney.com would be in the market, but the same ad shown to the same user

   on Disney’s streaming app or mobile app would be out); and (3) certain ad formats even when

   shown on “open-web” websites. Ex. 1, ¶¶ 12(1), 56.

          Lee agrees that the term “open-web display advertising” is not one that he had heard prior

   to this case, Ex. 8 at 34:6-10, or that he recalls seeing in any Google or third-party documents

   reporting market shares. Id. at 42:14-43:9, 47:9-15. Likewise, there is no evidence in this case of

   any advertiser—including the FAA Plaintiffs—ever using the term “open-web display

   advertising” before this lawsuit. Ex. 12 at 193:18-194:5; Ex. 16 at 259:19-261:2; Ex. 17 at 208:3-

   208:13; Ex. 18 at 269:8-270:3; Ex. 19 at 220:5-8; Ex. 20 at 206:24-207:20; Ex. 21 at 70:9-72:4;



                                                    6


                                   REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 12 of 36 PageID# 18438




   Ex. 22 at 278:15-20; Ex. 23 at 47:8-22. Nor has any advertiser testified that it only buys “open-

   web display ads.” To the contrary, advertisers typically buy many types of ads from “open-web”

   and “closed-web” publishers alike, and shift spend between them. Ex. 12 at 100:14-102:19; Ex.

   13 at 28:24-29:24, 32:6-34:12; Ex. 14 at -737; Ex. 15 at 382:6-12; Ex. 64 at 78:21-79:7; Ex. 88;

   see also Ex. 3, ¶ 113 (Lee does

                                                                    at least               ”).

          As recognized by Plaintiffs’ other expert economist, Rosa Abrantes-Metz, the term “open-

   web display advertising” “is simply a name – a name that was given to the relevant antitrust market

   delineated for this case.” Ex. 6 at 26:22-28:5. Plaintiffs’ expert Dr. Ravi, who has expertise in

   digital advertising, testified that he was familiar with the term “open-web display advertising,” but

   then defined the term as having to do with whether an auction for an ad impression was an open

   auction or a closed private auction—which has nothing to do with Lee’s markets. Ex. 32 at 62:2-

   63:23. In other words, “open-web display advertising” as defined by Plaintiffs is not a term (or a

   market) that exists in the real world.

   2.     Ad Tech Tools for Which Lee Defines Product Markets.

          Lee agrees that each of the tools he analyzed—including Google’s publisher ad server,

   DFP; its ad exchange, AdX; and its advertiser ad network, Google Ads—has the ability to serve

   and transact multiple types of digital ads in addition to “open-web display ads,” and can transact

   ads both directly (without the use of a real-time auction) and indirectly. He did not identify a

   single tool that transacts only “open-web display ads.”

          Publisher ad servers: Lee defines a market for publisher ad servers, which he describes

   as                    ” that are                                                              digital

   ads. Ex. 1, ¶ 85 n.76. Lee acknowledges that publisher ad servers—including Google’s—have



                                                    7


                                      REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 13 of 36 PageID# 18439
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 14 of 36 PageID# 18440
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 15 of 36 PageID# 18441




   do not exclusively serve “open-web display advertising,” e.g., id. at 89:11-90:2, 94:15-95:1, 99:12-

   20, 101:17-102:1, 124:2-125:3, and so he explained that he defined his market to include tools that

   can be used to transact “open-web display ads,” id. 89:11-90:2. He acknowledged these tools also

   can be used to transact other ad formats, like in-app ads, native ads on social media and retail sites,

   and instream video ads, including those appearing on connected TV. Id. at 53:7-54:4, 89:11-90:2.

   Lee admits he is unaware of any ad exchanges that facilitate advertising only for “open-web

   display advertising.” Id. at 104:17-105:7. But Lee excludes from his markets any products—

   publisher ad servers, ad exchanges, and advertiser ad networks—that transact those other formats

   if they cannot also be used to transact “open-web display ads.” Id. at 92:17-94:14; Ex. 3, ¶ 103.

          Accordingly, although Lee claims now to define relevant product markets for “advertiser

   ad networks, ad exchanges, and publisher ad servers,” he excludes any such tools, for example,

   that (1) only transact native ads, Ex. 3, ¶ 298, (2) are only used to serve display ads on apps or on

   connected TV, Ex. 8 at 97:2-15, 115:21-116:21, or (3) are used by publishers to sell owned and

   operated display ad inventory, Ex. 1, ¶ 55, like the tools provided by Meta, TikTok, Amazon,

   Pinterest, or Snapchat, e.g., Ex. 3, ¶ 222.

          In analyzing how and whether publishers and advertisers value an ad exchange based on

   its ability to transact “open-web display ads” or other types of advertising, Lee admits he does not

   know what advertisers and publishers take into account for such decisions. Ex. 8 at 122:9-123:21.

   4.     Lee’s Geographic Markets.

          Lee offers two different geographic markets: a “broad” worldwide market and a “narrow”

   United States market. Ex. 8 at 275:16-22. Lee defines his geographic markets

                                                                                       ” Ex. 1, ¶ 387.

   Although Plaintiffs—the United States and 17 Attorneys General—pled a United States market,



                                                     10


                                    REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 16 of 36 PageID# 18442




   with a worldwide market in the alternative, Lee insists his “broad” worldwide market is necessary

   for a                        Ex. 3, ¶ 346. Lee claims a worldwide market is useful for a number of

   reasons, including that customers are located globally and supply-side competition among ad tech

   providers is global. Id. ¶ 343.

           Lee is unaware of any data suggesting the FAAs purchased any ad inventory outside the

   United States. Ex. 8 at 284:10-15. Similarly, he acknowledges that competitive dynamics vary

   across the globe. Ex. 1, ¶ 389; Ex. 8 at 282:16-284:8.

   5.      Lee’s Market Share Calculations.

           Lee agrees that his market definitions include ad tech tools that can be used to sell forms

   of advertising in addition to “open-web display ads.” Ex. 3, ¶ 140.

                                                                                             under the

   guise of “

                       Id. Rather than measuring each tool’s share of the relevant market by looking

   at all of the impressions it transacts—including “open-web display ad” impressions, native

   impressions, outstream video impressions, in-app impressions, connected TV impressions, and

   impressions on the ad tech provider’s O&O properties—Lee looks only at “open-web display ad”

   impressions. Ex. 1, ¶¶ 30 n.5, 490, 491, 493, 531, Figs. 45, 47, 49, 50, 56, 57, 73, 74, 90, 93, 95,

   96, 99-102, 105-107, 119, 121-135; Ex. 3, ¶ 140, Figs. 69-72. He therefore ignores the total

   number of impressions transacted when analyzing each tool’s share of the market.

           And for the ad exchange market, Lee looks at an even more limited set of transactions—

   he considers

                       ,” and

            Ex. 1, ¶ 335 n.487. As just one example, he calculates AdX’s share of the market for ad



                                                    11


                                     REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 17 of 36 PageID# 18443




   exchanges by looking only at its “

                                     ” Id. Fig. 47.

                                             ARGUMENT

          Expert testimony is admissible only if the expert’s “scientific, technical, or other

   specialized knowledge will help the trier of fact to understand the evidence or to determine a fact

   in issue,” and the expert’s testimony (1) “is based on sufficient facts or data,” (2) “is the product

   of reliable principles and methods,” and (3) “reflects a reliable application of the principles and

   methods to the facts of the case.” Fed. R. Evid. 702. Because expert testimony “can be both

   powerful and quite misleading,” the judge must also weigh “possible prejudice against probative

   force under” Federal Rule of Evidence 403, and exercise “more control over experts than over lay

   witnesses.” Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 595 (1993).

          The trial court’s duty is to play “a gatekeeping role” in deciding whether to admit expert

   testimony: “the trial judge must ensure that any and all scientific testimony or evidence admitted

   is not only relevant, but reliable.” Id. at 589, 597. As of December 2023, Federal Rule 702 was

   amended to require courts to take a more active role in analyzing experts’ conclusions and ensure

   they are the result of “reliable application of the expert’s basis and methodology.” Fed. R. Evid.

   702 advisory committee’s note to 2023 amendments. The changes “respond to the fact that many

   courts have declared the requirements set forth in Rule 702(b) and (d) . . . are questions of weight

   and not admissibility, and more broadly that expert testimony is presumed to be admissible,” and

   “the language of the amendment more clearly empowers the court to pass judgment on the

   conclusion that the expert has drawn from the methodology.” Report of the Advisory Committee

   on Evidence Rules, at 6-7 (May 15, 2022), tinyurl.com/AdvisoryCommitteeRpt. The party




                                                      12


                                   REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 18 of 36 PageID# 18444




   offering the expert bears the burden of establishing that Rule 702 is satisfied. Daubert, 509 U.S.

   at 592 & n.10.

          “District courts have broad discretion when exercising their gatekeeping function.” It’s

   My Party, Inc. v. Live Nation, Inc. (It’s My Party I), 88 F. Supp. 3d 475, 483 (D. Md. 2015), aff’d,

   811 F.3d 676 (4th Cir. 2016). An economics expert’s opinions relating to market definition and

   market share are inadmissible if they are “not based on sound logic or reasoning.” Id. at 485-88

   (excluding economics expert’s opinion narrowly defining the market on the basis that it was not

   “the product of reliable principles and methods”). Even if expert testimony is “based on sound

   methodology,” it “should be excluded if it is based on unsound or incorrect assumptions.” Id. at

   483 (citing Tyger Const. Co. v. Pensacola Const. Co., 29 F.3d 137, 142 (4th Cir. 1994)).

          Similarly, expert opinions that are “contrary to law” are inadmissible.7

   I.     LEE’S METHODOLOGY FOR DEFINING THE RELEVANT MARKETS IS
          UNRELIABLE AND CONTRARY TO LAW.

          A relevant product market must include all products “reasonably interchangeable by

   consumers for the same purposes.” United States v. E.I. du Pont de Nemours & Co., 351 U.S. 377,

   395 (1956). In evaluating what products are reasonably interchangeable, courts consider the

   “extent to which consumers will change their consumption of one product in response to a price

   change in another, i.e., the ‘cross-elasticity of demand.’” It’s My Party II, 811 F.3d at 683. It is

   a “fundamental tenet of antitrust law that the relevant market definition must encompass the


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     In re Payment Card Interchange Fee & Merchant Discount Antitrust Litig., 2022 WL 15053250,
   at *23 (E.D.N.Y. Oct. 26, 2022) (opinions contrary to law are not helpful to the fact finder); Fed.
   Hous. Fin. Agency v. Nomura Holding Am., Inc., 2015 WL 640875, at *3 (S.D.N.Y. Feb. 16, 2015)
   (same); United Food & Com. Workers Loc. 1776 & Participating Emps. Health & Welfare Fund
   v. Teikoku Pharma USA, 296 F. Supp. 3d 1142, 1183 (N.D. Cal. 2017) (“exclusion of opinions
   that are . . . contrary to the law is appropriate through the Daubert process”); Loeffel Steel Prods.,
   Inc. v. Delta Brands, Inc., 387 F. Supp. 2d 794, 806 (N.D. Ill. 2005) (“Expert opinions that are
   contrary to law are inadmissible.”).

                                                    13


                                    REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 19 of 36 PageID# 18445




   realities of competition.” Oksanen v. Page Memorial Hosp., 945 F.2d 696, 709 (4th Cir. 1991)

   (en banc); Ohio v. Am. Express Co., 585 U.S. 529, 543-44 (2018) (an antitrust market must be

   based on “commercial realities”).      An economics expert cannot “gerrymander its way to an

   antitrust victory without due regard for market realities.” It’s My Party II, 811 F.3d at 683

   (affirming district court’s exclusion of expert analysis defining “sweeping national promotion

   market and a cramped amphitheater-only venue market—that coincidentally fit plaintiff’s precise

   circumstances”).

          A.      There Is No Such Thing as a Market for Ad Tech Tools for “Open-Web
                  Display Advertising.”

          Courts are skeptical of parties’ attempts to “gerrymander” market definitions that just so

   happen to “coincidentally fit” plaintiffs’ litigation needs. See It’s My Party II, 811 F.3d at 683.

   That is exactly what happened here: Lee made up an entire category of advertising that is divorced

   from market realities, and he did it in order to fit Plaintiffs’ strategic goals. Further, rather than

   using the standard of reasonable substitutes used by the courts, Lee applied a standard of “close

   substitutes” to exclude obvious substitutes. Ex. 8 at 62:10-63:5.8

          Markets for tools for “open-web display advertising” are divorced from commercial

   realities. “Open-web display advertising” is a term that does not exist in the real world, but was

   instead made up for the purpose of this antitrust case. Ex. 6 at 26:22-28:5 (“open-web display

   advertising” is just a “name that was given to the relevant antitrust market delineated for this



   8
     In the only case in which Lee has testified within the last ten years, Lee was criticized for his
   lack of methodological rigor. FTC v. Microsoft Corp., 681 F. Supp. 3d 1069 (N.D. Cal.
   2023). There, like here, Lee attempted to gerrymander a market by excluding a reasonably
   interchangeable substitute on the basis that it had differentiated product features. Id.
   (acknowledging “there are content differences between the [Nintendo] Switch and Playstation,”
   but stating “It doesn’t matter whether [Nintendo’s] products are fully interchangeable with those
   of its competitors because perfect fungibility isn’t required”).

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                                    REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 20 of 36 PageID# 18446




   case”). Lee had not heard the term “open-web display advertising” before this case, Ex. 8 at 34:6-

   10; nor had any advertiser who testified during discovery, see cites supra at 6-7. Plaintiffs’ expert

   Dr. Ravi understood based on his expertise in digital advertising that the term refers to whether an

   auction was an open auction or a closed private auction—which has nothing to do with Lee’s

   markets. Ex. 32 at 62:2-63:23.

          There are no ad tech tools that only transact “open-web display ads”—Lee concedes that

   the tools he includes in each of his markets do more than that. Supra at 7-9. Lee’s markets, defined

   by the ability to transact “open-web display ads,” exclude obvious substitutes that enable

   advertisers to buy ads that can be bought using the very same tools that Lee includes in the market.

   As a result, Lee has not done the required analysis of products, and demand for those products,

   based on their full feature set. Virginia Vermiculite, Ltd. v. W.R. Grace & Co. Conn., 108 F. Supp.

   2d 549, 586-87 (W.D. Va. 2000) (vermiculite was not a product market where there were

   substitutes for vermiculite for a variety of its most common uses; these substitutes should be

   included in the market even where they did “not cover all of the potential end uses” of vermiculite).

   Lee’s market definition opinions should therefore be excluded. See Its My Party II, 811 F.3d at

   683; see also Hicks v. PGA Tour, Inc., 897 F.3d 1109, 1121 (9th Cir. 2018) (rejecting market

   definition that the plaintiffs “contorted to meet their litigation needs”); Concord Boat Corp. v.

   Brunswick Corp., 207 F.3d 1039, 1056-57 (8th Cir. 2000) (opinion of antitrust plaintiff’s expert

   “should not have been admitted because” it “ignored inconvenient evidence” and “did not

   incorporate all aspects of the economic reality” of the applicable market).

          Defining “open-web display ads” as Lee does also leads to absurd results. First, he

   identifies “open-web publishers” by reference to the ad tech tools they use. This means that a




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                                    REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 21 of 36 PageID# 18447




     , was converted from an “open-web” publisher to a “closed-web” publisher when it started using

   its own ad tech tools. See Ex. 1, ¶ 55. And a website publisher like The New York Times, which

   historically used an in-house ad server, was converted from a “closed-web” publisher to an “open-

   web” publisher when it started using Google’s ad server. Ex. 51 at 141:8-22; see Ex. 1, ¶ 55.

   Further, the “open-web publisher” examples Lee provides—USA Today, Weather.com, and Vox,

   Ex. 1, ¶ 55—are only “open-web publishers” when they sell ad space on their websites; when they

   sell ad space in their apps, they are not. Lee’s definition also excludes native ads, which, like

   “display ads” as Lee defines them, are made up of text and images and can appear on websites or

   in apps; and excludes instream video ads, even though “display ads” can include video.

          Lee’s made-up definition also excludes from the market some of Google’s biggest

   competitors, including Amazon and Meta, on the basis that they—like Google—sell their O&O ad

   inventory through integrated, internally supplied ad tech tools. This is inconsistent with the

   realities of the market. Meta has a much larger share of display ad spend than Google and

   Amazon’s share has been increasing as Google’s has been decreasing, supra note 2, and Plaintiffs’

   own expert testified that “Meta competes with sellers of open web display advertising,” Ex. 7 at

   249:15-20. Despite his exclusion of major competitors on the basis that they use their own ad tech

   tools to sell ads on their O&O properties, Lee acknowledges that Google Ads is used to buy ads

   on Google’s O&O properties, and opines that Google’s



                    ” Ex. 1, ¶ 422.

          B.      Lee’s Hypothetical Monopolist Test Is Unsupported by the Record.

          Compounding that these are gerrymandered markets is the fact that Lee’s methodology for

   determining the relevant markets is contrary to the law and unreliable. Defining a relevant product

   market requires evaluating the “extent to which consumers will change their consumption of one
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                                   REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 22 of 36 PageID# 18448




   product in response to a price change in another, i.e., the ‘cross-elasticity of demand.’” It’s My

   Party II, 811 F.3d at 683. This “is the ultimate determinative factor for relevant product market

   definition.” In re Zetia (Ezetimibe) Antitrust Litig., 587 F. Supp. 3d 356, 363 (E.D. Va. 2022).

   While Lee acknowledges this fundamental principle, Ex. 1, ¶ 247, he fails to conduct the

   “determinative” cross-elasticity of demand analysis.

          Lee claims to employ the Hypothetical Monopolist Test (“HMT”) to support his market

   definitions. Ex. 1, ¶ 248; Ex. 8 at 61:2-17. The HMT evaluates whether a hypothetical monopolist

   could profitably impose a small but significant and nontransitory increase in price (“SSNIP”)—

   i.e., whether enough customers would respond to the SSNIP by choosing to purchase an alternative

   product, thereby causing the price increase to be unprofitable. 2010 Merger Guidelines § 4.1.1;

   Apple v. Epic, 67 F.4th 946, 975 (9th Cir. 2023). The HMT is a “quantitative” approach to defining

   a relevant product market. Teradata Corp. v. SAP SE, 570 F. Supp. 3d 810, 838-41 (N.D. Cal.

   2021); Apple, 67 F.4th at 975 (“inquiry involves empirical evidence in the form of a ‘SSNIP’

   analysis,” which “uses past consumer-demand data and/or consumer-survey responses”).

           Lee claims that

                             ’” Ex. 3, ¶ 58 n.104. He declines to perform a SSNIP analysis or any

   empirical analysis measuring customer substitution patterns in response to a price increase. See

   Teradata, 570 F. Supp. 3d at 838-41 (excluding expert whose purported HMT did not use data that

   measured “customer responses to changes in price” and therefore did not “measure the most

   fundamental principle in defining a market: cross-elasticity of demand”).

          1.      Lee’s Failure to Conduct a Quantitative Analysis Requires Exclusion of His Market
                  Definition.

          Eschewing any empirical analysis of cross-price elasticity of demand, Lee primarily bases

   his opinion on “qualitative” evidence—i.e., “


                                                  17


                                   REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 23 of 36 PageID# 18449




   Ex. 1, ¶ 253. Essentially, Lee analyzes a subset of the Brown Shoe practical indicia. Brown Shoe

   Co. v. United States, 370 U.S. 294, 325 (1962).9 But as the Sixth Circuit held in Kentucky

   Speedway, “these practical indicia come into play only after the outer boundaries of a product

   market are determined by evaluating the reasonable interchangeability of use or the cross-elasticity

   of demand between the product itself and substitutes for it.” Ky. Speedway, LLC v. Nat’l Ass’n of

   Stock Car Auto Racing, Inc., 588 F.3d 908, 918 (6th Cir. 2009). There, the Sixth Circuit affirmed

   the exclusion of plaintiffs’ expert who failed to conduct a proper SSNIP test and instead “primarily

   relied on the ‘practical indicia’ factors laid out in Brown Shoe.” Id. at 918-19. Other courts have

   likewise rejected expert testimony and/or evidence solely based on Brown Shoe factors. See, e.g.,

   Reifert v. S. Cent. Wisconsin MLS Corp., 450 F.3d 312, 319-20 (7th Cir. 2006) (a plaintiff must

   “provide an economic analysis of the relevant market” as the “practical indicia named in Brown

   Shoe” were “never intended to exclude economic analysis altogether,” including “cross-price

   elasticity of demand”); U.S. Horticultural Supply v. Scotts Co., 367 F. App’x 305, 311 (3d Cir.

   2010) (rejecting plaintiff’s expert report that failed to “include specific information relating to

   price increases or price stability for substitute products in relation to a rise in the price” in

   defendant’s product because failure to present this evidence could not “be overcome by the

   ‘practical indicia’ evidence offered by” plaintiff); Teradata, 570 F. Supp. 3d at 834-35 (focus on

   practical indicia inappropriate when not defining a submarket).

          Qualitative evidence cannot supplant the “ultimate determinative factor” of market

   definition: cross-price elasticity of demand. In re Zetia (Ezetimibe) Antitrust Litig., 587 F. Supp.


   9
     The Supreme Court in Brown Shoe identified seven factors that may be used to identify the
   boundaries of a “submarket”: “[1] industry or public recognition of the submarket as a separate
   economic entity, [2] the product’s peculiar characteristics and uses, [3] unique production
   facilities, [4] distinct customers, [5] distinct prices, [6] sensitivity to price changes, and [7]
   specialized vendors.” 370 U.S. at 325.

                                                   18


                                   REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 24 of 36 PageID# 18450




   3d at 363; It’s My Party II, 811 F.3d at 683. That is particularly true here, where Plaintiffs’

   economist admits that he does not know what advertisers and publishers take into account when

   making decisions among ad tech tools that offer “open-web display advertising” as well as other

   advertising. Ex. 8 at 122:8-123:21.

          Even if Brown Shoe practical indicia could satisfy an HMT, Lee employs them unreliably

   (to the extent he does so at all). Lee, who does not even reference Brown Shoe, offers (at most) a

   cherry-picked analysis of a select few indicia. That is insufficient. See Teradata, 570 F. Supp. 3d

   at 835 n.4 (requiring the existence of “three or four of these practical indicia”). Further, applying

   Brown Shoe does not support Lee’s market definition.             Applying those factors actually

   demonstrates why Lee’s market definition opinions are unsound. For example, as noted above,

   there is no industry recognition of markets for “open-web display advertising” tools, nor are there

   tools exclusively designed for “open-web display advertising.” Moreover, the key factor in Lee’s

   HMT rests on a qualitative analysis comparing “open-web display advertising” (and tools for

   transacting it) to other forms of digital advertising to determine whether they are distinct and

   valuable. Ex. 8 at 61:2-17. Basing market definition on differences in product characteristics

   would make non-commodity products their own market and result in countless single product

   markets. Cf. In re Am. Express Anti-Steering Rules Antitrust Litig., 361 F. Supp. 3d 324, 343

   (E.D.N.Y. 2019) (“It is an understatement to say that single-brand markets are disfavored.”).

          2.      Lee Fails to Perform Any Quantitative Analysis Constituting an HMT.

          To the extent Lee could claim to rely on anything quantitative, the evidence he points to

   does not actually satisfy the HMT because it does not measure the effect of a price increase on

   customer substitution patterns. See Ex. 3, ¶ 58 n.104. For example, Lee points to a series of charts

   analyzing advertiser multihoming between Google Ads, and Google’s other buying tool, DV360

   (which Lee claims is in a separate market). Ex. 1, Figs. 34-38. Those charts contain no analysis
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                                   REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 25 of 36 PageID# 18451




   or data on how advertisers who use Google Ads would respond to a price increase and actually

   show that advertisers commonly use more than one tool at the same time.

          The only other “quantitative” evidence Lee points to is what he characterizes as “direct

   evidence.” To the extent Lee points to “direct evidence” of Google’s alleged “anticompetitive

   conduct” to define his markets, that is improper. Ky. Speedway, 588 F.3d at 919 (rejecting plaintiff

   expert’s reliance on “anticompetitive conduct as additional indicia to define the relevant markets”).

          Lee’s other two categories of “direct” evidence, namely the AdX take rate and Google’s

   internal simulations, likewise do not satisfy the HMT. Ex. 3, ¶ 58 n.104.10

          For the first category, Lee claims that AdX’s average take rate is higher than the weighted

   average of its competitors and has remained stable for a number of years. Ex. 1, ¶ 350, 508 n.739.

   But see id. Fig. 110 (table showing AdX does not have the highest take rate). That type of analysis

   does not satisfy the HMT, because it does not analyze customer responses to a change in price.

   Ky. Speedway, 588 F.3d at 918-19 (affirming exclusion of market definition opinion where expert,

   rather “than analyzing whether a price increase at a particular point in time would result in

   consumer substitution of an alternative product,” merely “looked at average . . . ticket prices and

   attendance figures over an eight-year span and concluded that both price and demand increased in

   this time period”). In addition, Lee over and over says that for purposes of market definition, it is

   necessary to use quality adjusted prices, a correct statement because a firm may charge higher

   prices for higher quality. E.g., Ex. 1, ¶ 248 & n.335; id. §§ IV.C.3, IV.D.3, IV.E.3. But Lee’s

   average price analyses compare take rate percentages, with no analysis of product quality.



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     Lee also references analysis he did on the effect removing Google Ads as a buying tool would
   have on publisher payouts. Ex. 1, § V.D.3. But again, that analysis does not measure customer
   responses to change in price—the “most fundamental principle” for market definition and the
   application of the HMT. Teradata, 570 F. Supp. 3d at 840.

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                                   REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 26 of 36 PageID# 18452




          For the second category, Lee points to internal Google simulations indicating Google could

   potentially increase prices for AdX and Google Ads. Ex. 1, §§ V.C.3.a, V.D.3.a. These internal

   company simulations were not designed to implement an HMT; they amount to nothing more than

   non-expert “armchair economics” that lack the economic rigor necessary to satisfy the hypothetical

   monopolist test. See Menasha Corp. v. News Am. Marketing In-Store, Inc., 354 F.3d 661, 664 (7th

   Cir. 2004). These simulations do not actually address the basic premise of the hypothetical

   monopolist test. The AdX simulations do not even evaluate a potential price increase for AdX.

   Ex. 1, § V.C.3.a. The Google Ads simulations are likewise inapposite. The HMT requires

   analyzing whether “the only present and future seller” of a product could profitably impose a

   SSNIP. 2010 Merger Guidelines § 4.1.1. Lee does not point to any evidence that Google’s

   simulations tested that hypothetical. And the fact that there is no evidence Google raised prices as

   discussed in those documents supports the inference that Google could not profitably impose those

   increases.11

          C.      Lee’s Worldwide Market Is Irrelevant and Unreliable.

          To prevail on their claims, Plaintiffs must also define the relevant geographic market.

   Satellite Television v. Continental Cablevision, 714 F.2d 351, 355 (4th Cir. 1983). The relevant

   geographic market is “the area in which buyers or sellers of the relevant product effectively

   compete.” Consul, Ltd. v. Transco Energy Co., 805 F.2d 490, 495 (4th Cir. 1986).

           In defining the relevant markets, Lee offers both a “broad” and “narrow” geographic

   market. Ex. 8 at 275:16-22. Lee opines that a “broad” worldwide geographic market and a

   “narrow” United States market are both relevant antitrust markets. Id. Lee’s “worldwide” market



   11
     As Dr. Lee’s own analysis shows, other competitors were charging higher prices when Google
   ran these simulations. Ex. 1, Fig. 111.

                                                   21


                                   REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 27 of 36 PageID# 18453




   should be excluded because it is irrelevant to this case and based on an unreliable application of

   his chosen methodology.

          1.      Lee’s Worldwide Market is Not Relevant to Plaintiffs’ Case.

          The United States and Attorneys General for 17 states have sued Google for alleged

   conduct “in the United States.” FAC ¶ 279. They acknowledge that there are “differences in

   publisher and advertiser preferences, language, and regulatory frameworks depending on the

   country.” Id. ¶ 280; see also 2010 Merger Guidelines § 4.2 (listing factors such as “language,

   regulation, tariff and non-tariff trade barriers, custom and familiarity, reputation, and service

   availability” that can affect the scope of geographic markets).

          Lee claims that a worldwide market is necessary “

                                    ” Ex. 3, ¶ 346. Lee claims a worldwide market is useful for three

   reasons: (1) customers (open-web publishers and advertisers) are located globally; (2) aspects of

   supply-side competition among ad tech providers are global; and (3) Google’s conduct is not

   limited to the United States. Ex. 1, ¶¶ 393-97. Addressing each of these reasons in turn

   demonstrates why Lee’s “alternative” market is nothing more than a distraction that will obfuscate

   the core focus of this case.

          First, Lee defines his geographic markets

                                               Ex. 1, ¶ 387. Here, the Plaintiffs and the focus of the

   Amended Complaint are United States publishers and advertisers, including FAAs seeking

   damages. FAC ¶¶ 2, 278. There is no evidence that those FAAs purchased ad inventory outside

   the United States. Ex. 8 at 284:10-18. Separate from the FAAs, as Lee highlights in his report,

                                                                                    Ex. 1, ¶ 394.

          Second, the competitive dynamics for “supply-side competition” in the United States vary

   greatly from other international markets. Ex. 89 at -241
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                                   REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 28 of 36 PageID# 18454




               Ex. 90 at -725 (“competitive dynamics vary dramatically across markets”). Lee could

   not identify any evidence to the contrary. E.g., Ex. 8 at 284:2-8




   Ex. 1, ¶ 389

           ). Lee offers no explanation of how different regulatory regimes—including the EU

   General Data Protection Regulation—impact data collection and usage. 2010 Merger Guidelines

   § 4.2 (listing “regulation” as a factor that can affect the scope of geographic markets).

          Finally, Plaintiffs’ claims are premised on Google’s alleged conduct “in the United States.”

   FAC ¶ 279; Ex. 1, ¶ 405 (opining the

                                                         ”). Because the competitive conditions vary

   greatly between the United States and other nations, expanding the geographic market to a

   worldwide market will mask rather than clarify the competitive conditions in the United States.

          Lee’s “alternative” worldwide market should be excluded as irrelevant. Introducing a

   worldwide market will only serve to confuse the issues and paint a misleading picture of Google’s

   alleged “market power.”

          2.       Lee’s Worldwide Geographic Market Definition Is Unreliable Because He
                   Misapplies His Own Methodology.

          As Lee acknowledges in his rebuttal report, when the antitrust agencies



                                 ” Ex. 3, ¶ 326 n.510 (quoting 2010 Merger Guidelines § 4). Case

   law confirms that the relevant geographic market is the “smallest market” that satisfies the HMT.

   E.g., E.I. Du Pont De Nemours & Co. v. Kolon Indus., 683 F. Supp. 2d 401, 413 (E.D. Va. 2009)


                                                    23


                                   REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 29 of 36 PageID# 18455




   (DOJ “adopts the ‘smallest market’ principle, meaning that the smallest market in which prices

   may be raised with relative impunity is considered to be the relevant geographic market”); Vasquez

   v. Indiana Univ. Health, Inc., 40 F.4th 582, 587 (7th Cir. 2022) (“the appropriate object of the

   geographic-market analysis is the smallest market a hypothetical monopolist could dominate”).

          Lee does not limit his opinion to the “smallest” geographic market; he acknowledges that

   the global market is “broad” and the United States market is “narrower.” Ex. 8 at 274:16-275:22;

   see also Ex. 1, ¶¶ 392, 402-03. In offering both a narrow and broad geographic market definition

   opinion, Lee



                          Ex. 3, ¶ 326 n.510.

   II.    LEE’S MARKET SHARE CALCULATIONS MUST BE EXCLUDED AS
          INCONSISTENT WITH HIS PROPOSED MARKET DEFINITIONS AND THE
          LAW.

          Lee defined product markets for tools—advertiser ad networks, ad exchanges, and

   publisher ad servers. Ex. 8 at 44:12-19. He claims these product markets

                                                    Id. at 56:4-58:7; see also id. at 64:16-65:15; Ex. 3,

   ¶ 94. He includes any tool in each of his relevant markets so long as it

                                   acknowledging that the tools he includes

                           as well. Ex. 8 at 89:11-90:2. He excludes many ad tech tools with

   overlapping functionality if they do not facilitate the sale of “open-web display ads.”

          Even accepting the markets as Lee defines them, there is a fatal mismatch between the

   markets he defines and the market shares he calculates. He says that he is measuring market shares

   for each tool, but his market share calculations consider only a limited aspect of each tool’s

   functionality. He does not calculate market shares by looking at all ad impressions transacted by

   each ad tech tool. Instead, he calculates market shares by looking only at “open-web display ads”
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                                   REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 30 of 36 PageID# 18456




   transacted. Lee’s market share calculations, based only on “open-web display ad” impressions,

   are not a reliable reflection of Google’s share of each of the markets as he defines them—markets

   for tools that can (and do) transact many other types of ads.

          A.      Lee’s Market Share Calculations Must Consider All Ad Impressions
                  Transacted by Each Tool That Can “Readily Shift” from Transacting Non-
                  Open-Web Display Ad Impressions to Transacting More Open-Web Display
                  Ad Impressions.

           “Two products produced interchangeably from the same production facilities are

   presumptively in the same market.” Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law: An

   Analysis of Antitrust Principles and Their Application ¶ 561 (5th ed. 2023). This principle results

   from the directive that in defining a market, “one must consider substitution both by buyers and

   sellers.” Blue Cross & Blue Shield United of Wisc. v. Marshfield Clinic, 65 F.3d 1406, 1410 (7th

   Cir. 1995), as amended on denial of reh’g (Oct. 13, 1995); see also Stiles v. Walmart, Inc., 639 F.

   Supp. 3d 1029, 1047 (E.D. Cal. 2022) (“Two indicators define a market’s boundaries, one on the

   demand side and one on the supply side.”); Bepco, Inc. v. Allied-Signal, Inc., 106 F. Supp. 2d 814,

   823 (M.D.N.C. 2000) (citing Brown Shoe, 370 U.S. at 325); J.H. Westerbeke Corp. v. Onan Corp.,

   580 F. Supp. 1173, 1185 (D. Mass. 1984) (citing Brown Shoe, 370 U.S. at 325 n.42).

          On the demand side, customers of ad tech are paying for technology that services many

   types of ads, and necessarily will compare products based on the full feature set of the products.

   Lee contends that the ability to transact “open-web display ads” is “distinct and valuable” to

   customers, but even accepting that is true, he did not analyze the other features of the products

   here and their importance to customers. Ex. 8 at 61:2-17, 118:4-19. The fact that one feature of a

   product is “distinct and valuable” does not inform the Court about the demand for the product as

   a whole. Even Lee conceded at his deposition that he could not identify a single publisher or




                                                   25


                                   REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 31 of 36 PageID# 18457
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 32 of 36 PageID# 18458




           Numerous cases are instructive in demonstrating that where a supplier can readily shift

   from producing one product to another, sales of both must be included in the market. In Rebel Oil,

   self-serve gasoline retailers argued the relevant market included “all retail sales of gasoline in Las

   Vegas, except for sales of full-serve gasoline.” 51 F.3d at 1434. Defendant responded that the

   market “consist[ed] of all sales of retail gasoline in Las Vegas, including full-serve gasoline.” Id.

   at 1435. The Ninth Circuit affirmed the district court’s finding that a “reasonable market definition

   must also be based on ‘supply elasticity,’” and thus the relevant product market had to include

   sales of full-service gasoline, based on the “ease by which marketers can convert their full-serve

   facilities to increase their output of self-serve gasoline requires that full-serve sales be part of the

   relevant market.” Id. at 1436.

           Similarly, in Bepco, plaintiff offered two alternative product markets for airbrake

   components—a broad market that encompassed all replacement compressors and valves, and a

   narrower market that encompassed only replacement compressors and valves referred to as

   “Bendix” compressors and valves. 106 F. Supp. 2d at 822-23. Plaintiff’s expert, who opined that

   the narrower market definition was appropriate, considered only demand-side evidence, in

   particular, whether a consumer with a worn-out Bendix compressor could replace it with a non-

   Bendix compressor. Id. at 823. The court found that the record revealed both “entry into the

   aftermarkets for compressors and valves by new re-manufacturers,” and also “expansion of

   production by existing competitors,” and stated that if “re-manufacturers of Bendix and non-

   Bendix parts can easily adjust and reallocate productive capacity between the two products,” a

   proper market definition would include “all replacement compressors and all replacement valves.”

   Id. at 824.




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                                    REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 33 of 36 PageID# 18459




           Likewise, in J.H. Westerbeke, plaintiff argued that a relevant product market consisted only

   of “marine diesel gensets in the 0 to 30 kilowatt range, adapted for pleasure boat use,” in part based

   upon the argument premised on demand-side substitution that “the pleasure boat segment of the

   genset market has its own identifiable customers.” Id. at 1186. The defendant argued the relevant

   market included “the broad range of gasoline and diesel gensets of all applications.” Id. The court

   found it was clear that all gensets of all sizes “are produced in common facilities,” id., and held

   that the broader market was proper, because products “produced in common facilities should be

   included in the same market where the facilities are freely convertible from one product to the

   other,” “regardless of whether it is likely that such increased production would ever be warranted.”

   Id. at 1187.13

           B.       Lee’s Market Share Calculations Are Unreliable Because They Fail to Account
                    for All Ad Impressions That Must Be Considered in Evaluating Google’s
                    Share of the Relevant Markets.

           Lee’s market share calculations are inconsistent with both the markets he concedes he has

   defined, as well as the markets as they must be defined under the law. For the purposes of

   calculating market shares for the multifunctional tools he includes in his market, Lee considers



   13
       Multiple courts of appeals have warned against defining product markets without taking into
   account cross-elasticity of supply. E.g., Rebel Oil, 51 F.3d at 1436 (9th Cir.) (rejecting plaintiff’s
   narrow market definition where plaintiff’s expert failed to account for cross-elasticity of supply);
   Blue Cross & Blue Shield United of Wisc. v. Marshfield Clinic, 65 F.3d 1406, 1410-11 (7th Cir.
   1995) (Posner, J.) (“Even if two products are completely different from the consumer’s standpoint,
   if they are made by the same producers an increase in the price of one that is not cost-justified will
   induce producers to shift production from the other product to this one in order to increase their
   profits by selling at a supracompetitive price.”); Virtual Maintenance, Inc. v. Prime Computer,
   Inc., 11 F.3d 660, 665 (6th Cir.1993) (“The relevant product market cannot be determined without
   considering the cross-elasticity of supply.”), cert. dismissed, 512 U.S. 1216 (1994); see also Gulf
   States Reorganization Grp., Inc. v. Nucor Corp., 822 F. Supp. 2d 1201, 1235 (N.D. Ala. 2011),
   aff’d, 721 F.3d 1281 (11th Cir. 2013) (“The Eleventh Circuit has noted that any economically
   meaningful relevant product market definition must take into account evidence of virtually
   complete ‘supply substitution.’”).

                                                    28


                                    REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 34 of 36 PageID# 18460




   only a single aspect of how the tools are used by

   impressions. Ex. 3, ¶ 140; see also Ex. 8 at 92:3-16

                                                ), 104:6-16, 105:18-106:4

                                                                    ), 114:22-115:6



                ), 197:4-10. Lee’s singular focus on “open-web display ad” impressions when

   calculating market shares for tools that are capable of transacting “open-web display ads” as well

   as many other types of ad formats renders his market share calculations unreliable. He should

   have measured each tool’s share of the market by evaluating its share of all impressions transacted,

   but instead he evaluates only a subset of those impressions. As a result, there is a fatal mismatch

   between the markets Lee defines—markets for tools capable of transacting “open-web display

   ads”—and his market share calculations, which evaluate only each tool’s share of all “open-web

   display” impressions transacted. In short, his market share calculations do not measure shares of

   the markets he defines.

          Moreover, Lee does not analyze the competitors in his proffered markets to understand

   what features they offer and how the actual products in his markets compete. Based on the totality

   of features, such as the ability to transact in-app and connected TV ads, the ad tech tools Lee

   excludes could “readily shift” to enable open-web display ad impressions, but Lee does not analyze

   that competition, rendering his analysis unreliable. Rebel Oil, 51 F.3d at 1436 (“if producers of

   product X can readily shift their production facilities to product Y, then the sales of both should

   be included in the relevant market”); cf. Apple, 67 F.4th at 975 (If the “sales of other producers

   [could] substantially constrain the price-increasing ability of the monopolist or hypothetical cartel,




                                                    29


                                    REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 35 of 36 PageID# 18461




   these other producers must be included in the market”).14

          Because Lee’s market share calculations do not measure shares of the actual markets at

   issue, they are unreliable and should be excluded. See Am. Bearing Co. v. Litton Indus., Inc., 729

   F.2d 943, 949 n.14 (3d Cir. 1984) (affirming district court decision holding expert testimony

   “should have been excluded” where “the inconsistencies between that part of [the expert’s]

   testimony that defined a relevant market and that addressing market share and damages increased

   the likelihood that his testimony would confuse and mislead the jury”); cf. TYR Sport, Inc. v.

   Warnaco Swimwear, Inc., 709 F. Supp. 2d 821, 833-34 (C.D. Cal. 2010) (expert testimony

   excluded as unreliable and not based on sufficient facts or data where market share analysis did

   not analyze market share of all competition in market); see also Gen. Elec. Co. v. Joiner, 522 U.S.

   136, 146 (1997) (“But nothing in either Daubert or the Federal Rules of Evidence requires a district

   court to admit opinion evidence that is connected to existing data only by the ipse dixit of the

   expert. A court may conclude that there is simply too great an analytical gap between the data and

   the opinion proffered.”); Water Craft Mgmt., L.L.C. v. Mercury Marine, 361 F. Supp. 2d 518, 544

   (M.D. La. 2004) (“The evidence presented in this case established that Mercury had other

   competitors in the boat engine market, but Dr. Wood’s focus was only on Mercury engines”).

                                            CONCLUSION

          For the foregoing reasons, Google respectfully requests that the Court exclude Lee’s

   proposed testimony on market definition and market share.



   14
     See also Twin City Sportservice, 512 F.2d at 1272 n.1 (“Even if we agreed with the trial court’s
   basic premise, that the provision of concession services to major league baseball was the relevant
   market, its failure to include as participants in that market baseball clubs which supply their own
   concessions very likely would compel reversal on that ground. . . . Thus, the exclusion from the
   relevant market of baseball teams which run their own concessions operations—a pro-competitive
   influence in that market—could not be supported even under the trial court's conceptualization.”).

                                                   30


                                   REDACTED VERSION
Case 1:23-cv-00108-LMB-JFA Document 717 Filed 05/31/24 Page 36 of 36 PageID# 18462




   Dated: April 26, 2024                 Respectfully submitted,

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                                        31


                                REDACTED VERSION
